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IN THE UNITED sTATEs DlsTRrCT CoURT ""‘ED B`*’ t

FOR THE WESTERN DISTRICT OF TENNESSEE

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GILBERT LEVERNE, JR., ctt~:ai<,, tie inst c‘r.

W.{). C'§~" `e'N. l-AEMFHIS
Plaintiff,
v. No. 04-2884 B
SHELBY GROUP INTERNATIONAL, INC.,

Defendant.

 

ORDER TO SHOW CAUSE WHY MOTION OF DEFENDANT
FOR PARTIAL DISMISSAL SHOULD NOT BE GRANTED

 

This lawsuit Was initially brought by the Plaintiff, Gilbert LeVerne, Jr., in the Circuit Court
of Shelby County and Was removed to this Court on November 2, 2004. On April 14, 2005, the
Defendant, Shelby Group lnternational, lnc., moved for partial dismissal. On May 17, 2005, the
Court granted the request of the Plaintiff, Who is represented by counse], to extend the time for
response, directing that such response be filed by May 31, 2005. According to the Court's docket,
no response has been filed. Consequently, the Plaintiff is hereby ORDERED, Within fifteen (15)
days of the entry hereof, to show cause Why the motion for partial dismissal should not be granted
Failure of the Plaintiff to respond in a timely manner to this order may result in the granting of the
motion.

IT rs so oRDERED this §de OfJune, 2005.

J. A rEL BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-02884 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

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Honorable J. Breen
US DISTRICT COURT

